Case 1:24-cv-00648-AA   Document 23-45   Filed 06/20/24   Page 1 of 3




                        EXHIBIT 50
           Case 1:24-cv-00648-AA                              Document 23-45           Filed 06/20/24               Page 2EXHIBIT
                                                                                                                           of 3   50




Article LI 11-12 -French Code of Judicial Organization-Legifrance



                                                     French Code of Judicial Organization
                                                                    Article L111-12


                                                        Version in force since August 1, 2011


                Legislative part (Articles L111-1 to L563-1)
                TOME I: PROVISIONS COMMON TO ALL JUDICIAL JURISDICTIONS (Articles L111-1 to L 141-3)
                TITLE I: GENERAL PRINCIPLES (Articles L111-1 to L111-14)
                Sole chapter (Articles L 111-1 to L111-14)

           Article L 111-12                                                                  Version in force since August 1, 2011
                                                                              Modified by law no. 2011-803 of July 5, 2011 - Art. 1
           Without prejudice to the specific provisions of the Public Health Code, the Code of Criminal Procedure, and the Code
           on the Entry and Residence of Foreigners and the Right of Asylum, hearings before judicial jurisdictions may, by
           decision of the presiding judge, ex officio or at the request of a party, and with the consent of all parties, take place in
           several hearing rooms linked directly by an audiovisual means of telecommunication guaranteeing the confidentiality
           of the transmission.
           One or more of these hearing rooms may be located outside the jurisdiction of the court hearing the case.
           For public hearings, each courtroom is open to the public. For proceedings held in chambers, it is done without the
           presence of the public in each of the hearing rooms.
           Photographs and sound recordings may not be recorded or saved except in the cases provided for by articles L. 221-
           1 et seq. of the French Heritage Code.
           The terms of application of the present article are laid down by decree of the French Council of State.




                                                         EXHIBIT 50 - PAGE 1 OF 2
                  Case 1:24-cv-00648-AA                                           Document 23-45         Filed 06/20/24              Page 3 of 3
Article LI 11-12 - Code de !'organisation judiciaire - Legifrance                                https://www.legifrance.gouv.fr/codes/article_lc/LEGIARTI000024 ...


          II.II        Legifrance                                                                                                                                 0


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                                                               Code de l'organisation judiciaire
                                                                                      Article L 111-12

                                                                Version en vigueur depuis le 01 aout 2011


            Partie legislative (Articles L 111-1 L563-1) a
            LIVRE ler: DISPOSITIONS COMMUNES AUX JURIDICTIONS JUDICIAIRES (Articles L 111-1                            a L141-3)
            TITRE ler: PRINCIPES GENERAUX (Articles L 111-1 L111-14)                 a
            Chapitre unique (Articles L 111-1 L 111-14) a
         Article L111-12                                                                                               Version en vigueur depuis le 01 aoiit 2011
                                                                                                               Modifie par LOI n°2011-803 du 5 juillet 2011 - art. 1
         Les audiences devant les juridictions judiciaires, sans prejudice des dispositions particulieres du code de la sante publique du code de procedure
         penale et du code de l'entree et du sejour des etrangers et du droit d'asile, peuvent, par decision du president de la formation de jugement, d'office ou
         a la demande d'une partie, et avec le consentement de !'ensemble des parties, se derouler dans plusieurs salles d'audience reliees directement par un
         moyen de telecommunication audiovisuelle garantissant la confidentialite de la transmission.

         L'une ou plusieurs de ces salles d'audience peuvent se trouver en dehors du ressort de la juridiction saisie.

         Pour la tenue des debats en audience publique, chacune des salles d'audience est ouverte au public. Pour la tenue des debats en chambre du
         conseil, ii est precede hors la presence du public dans chacune des salles d'audience.

         Les prises de vue et les prises de son ne peuvent faire l'objet d'aucun enregistrement ni d'aucune fixation, hors le cas prevu par les articles L. 221-1 et
         suivants du code du patrimoine.

         Les modalites d'application du present article sont fixees par decret en Conseil d'Etat.




1 of 1                                                                          EXHIBIT 50 - PAGE 2 OF 2                                               19/06/2024, 21:52
